     Case 2:18-cv-02174-JFW-GJS Document 58 Filed 08/07/18 Page 1 of 3 Page ID #:836




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      CV 18-2174-JFW(GJSx)                                             Date: August 7, 2018

Title:        Liu Luwei, et al. -v- Phyto Tech Corp.

PRESENT:
              HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                 None Present
              Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):               ORDER DENYING PETITIONERS’ MOTION FOR
                                         ATTORNEYS’ FEES AND COSTS [filed 7/5/18; Docket
                                         No. 40]

       On July 5, 2018, Petitioners Liu Luwei and Lv Dezheng (collectively, "Petitioners") filed a
Motion for Attorneys’ Fees and Costs. On July 23, 2018, Respondent Phyto Tech Corporation
("Phyto Tech") filed its Opposition. Petitioners filed their Reply on July 23, 2018. Pursuant to Rule
78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter is
appropriate for decision without oral argument. The hearing calendared for August 13, 2018 is
hereby vacated and the matter taken off calendar. After considering the moving papers, and the
arguments therein, the Court rules as follows:

I.       Factual and Procedural Background

         On February 5, 2015, Petitioner Lv Dezheng, acting on behalf of Petitioner Liu Luwei,
entered into a Shareholding Assignment Agreement (the "Shareholder Agreement") with Phyto
Tech. Pursuant to the terms of the Shareholder Agreement, Luwei agreed to assign one hundred
percent of the shares in Teejoy (Shanghai) Biotechnology Company, Ltd. ("Teejoy"), a limited
liability company incorporated under the laws of the People's Republic of China, to a "domestic or
foreign-funded enterprise controlled actually by Steven Chen" for RMB 46,000,000 Yuan. At the
time, Phyto Tech was controlled by Steven Chen.

       The February 5, 2015 Agreement was revised and re-executed on February 6, 2015 and
March 5, 2015 to comply with the People’s Republic of China’s regulatory requirements. Although
the February 6, 2015 Agreement and the March 5, 2015 Agreement were substantially similar to
the February 5, 2015 Agreement, they contained two key differences. First, Phyto Tech was
specifically named as the assignee and was a signatory to the February 6, 2015 Agreement and

                                            Page 1 of 3                         Initials of Deputy Clerk sr
      Case 2:18-cv-02174-JFW-GJS Document 58 Filed 08/07/18 Page 2 of 3 Page ID #:837



the March 5, 2015 Agreement. Second, the purchase price of the Teejoy shares in the February 6,
2015 Agreement and March 5, 2015 Agreement was RMB 34,000,000 Yuan, whereas in the
February 5, 2015 Agreement, the price was RMB 46,000,000 Yuan.

        After Petitioners transferred their shares in Teejoy to Phyto Tech, a dispute arose regarding
the price Phyto Tech was required to pay for the shares. Because each of the agreements
contained an arbitration clause, the parties participated in a two day arbitration proceeding before
the Shanghai International Economic and Trade Arbitration Commission. On May 2, 2017, the
arbitration panel issued an Arbitral Award (the "Arbitration Award") in favor of Petitioners and
ordered Phyto Tech to: (1) pay RMB 34,000,000 Yuan to Petitioners in exchange for the Teejoy
shares; (2) pay RMB 676,000 Yuan to Petitioners in liquidated damages; (3) pay RMB 490,260
Yuan for a portion of Petitioners' arbitration fees; and (4) pay its own arbitration fees of RMB
248,750 Yuan.

       On July 14, 2017, Phyto Tech appealed the Arbitration Award to the Shanghai No. 2
Intermediate People's Court of the Republic of China ("Intermediate Court"). In its appeal, Phyto
Tech objected to the authenticity of evidence that the arbitration panel relied on in its Arbitration
Award. On August 2, 2017, the Intermediate Court denied Phyto Tech's appeal and confirmed the
Arbitration Award.

      On March 15, 2018, Petitioners initiated this action by filing a Verified Petition to Recognize,
Confirm and Enforce Foreign Arbitration Award (“Petition”). On June 18, 2018, the Court granted
the Petition and entered final judgment against Phyto Tech.

        On July 5, 2018, Petitioners filed their Motion for Attorneys’ Fees and Costs.

II.     Discussion

       Petitioners seek an award of $37,533.50 in fees and costs for work performed in this action
to confirm the Arbitration Award. Petitioners argue that they are entitled to fees on three grounds:
(1) the Court’s inherent power to award fees and costs; (2) the relevant provision of the
Shareholder Agreement permits them to recover fees and costs; and (3) Federal Rule of Civil
Procedure 54 authorizes an award of fees and costs.

        A.      Whether the Shareholder Agreement Permits Recovery of Fees and Costs
                Should Be Submitted to Arbitration

       Petitioners argue that they are entitled to a fee award based on the Shareholder Agreement.
Article 11.1 of the Shareholder Agreement provides, in relevant part:

             [W]here a party violates any of its warranty, agreement or provision hereunder
             and therefore causes any expense, liability or direct economic loss to the other
             parties, the breaching party shall compensate the other parties for such expense,
             liability or loss. Such compensation shall be equal to the actual losses or
             deprived entitlements of the non-breaching party. Such compensation does not
             affect the rights and remedies that the non breaching party is entitled to under the
             laws, regulations and this Agreement. The rights and remedies that the non

                                               Page 2 of 3                         Initials of Deputy Clerk sr
       Case 2:18-cv-02174-JFW-GJS Document 58 Filed 08/07/18 Page 3 of 3 Page ID #:838



            breaching party is entitled to under the laws, regulations and this Agreement shall
            remain in force even if this Agreement is rescinded, terminated or performed. . . .

The parties have conflicting interpretations of this provision. Petitioners argue that the provision
allows them to recover expenses and other direct economic losses—including attorneys’
fees—that they incurred as a result of Respondents’ breach of the Shareholder Agreement. Mot.
6. By contrast, Phyto Tech argues that Petitioners should not be awarded fees because the
provision does not explicitly authorize attorneys’ fees. The Court concludes that this issue must be
resolved in arbitration. Article 15.3 of the Shareholder Agreement provides:

         “Where any dispute in connection to or arising from this Agreement cannot be settled by
         amicable negotiation . . . any party can submit the dispute to the Shanghai International
         Economic and Trade Arbitration Commission.”

The issue of whether Article 11.1 provides for attorneys’ fees clearly is a dispute that is connected
to or arises from the Shareholder Agreement. Accordingly, the Court concludes that this issue
should be resolved by arbitration.

III.     Conclusion

       In light of the Court’s conclusion that the issue of Petitioners’ entitlement to an award of
attorneys’ fees should be resolved in arbitration, the Court DENIES Petitioners’ Motion for
Attorneys’ Fees and Costs.



         IT IS SO ORDERED.




                                              Page 3 of 3                         Initials of Deputy Clerk sr
